B1 (Official Form 1)Case
                     (4/10)    14-37250             Doc 1         Filed 10/14/14              Entered 10/14/14 17:23:38                          Desc Main
                                                           Document
                                    UNITED STATES BANKRUPTCY COURT                            Page 1 of 39
                                                                                                                                       VOLUNTARY PETITION
                                     Northern
                                     __________ District of__________
                                                District of Illinois
 Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
  GRAY-HOPES, RUTHIE F.
 All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                   Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                                  (if more than one, state all):
 9613
 Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
 5010 W. St. Paul
 Chicago, IL
                                                                      ZIP CODE 60639                                                                          ZIP CODE
 County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  COOK
 Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                     ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                           ZIP CODE
                      Type of Debtor                                        Nature of Business                              Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                                     (Check one box.)                                  the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                                  Chapter 7               Chapter 15 Petition for
 ✔      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in                Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                  Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                      ✔       Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                           Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                              Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                  Nature of Debts
                                                              ___________________________________                                         (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                ✔ Debts are primarily consumer              Debts are primarily
                                                                                                                       debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization              § 101(8) as “incurred by an
                                                                      under Title 26 of the United States              individual primarily for a
                                                                      Code (the Internal Revenue Code).                personal, family, or house-
                                                                                                                       hold purpose.”
                                Filing Fee (Check one box.)                                                                       Chapter 11 Debtors
                                                                                                 Check one box:
 ✔      Full Filing Fee attached.                                                                    Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                     Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is           Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                     insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.           -----------------------------------
                                                                                                 Check all applicable boxes:
                                                                                                     A plan is being filed with this petition.
                                                                                                     Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                          THIS SPACE IS FOR
                                                                                                                                                                 COURT USE ONLY
 ✔         Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors
 ✔
 1-49          50-99          100-199         200-999        1,000-          5,001-         10,001-          25,001-           50,001-          Over
                                                             5,000           10,000         25,000           50,000            100,000          100,000

 Estimated Assets
 ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
 Estimated Liabilities
 ✔
 $0 to         $50,001 to     $100,001 to     $500,001       $1,000,001      $10,000,001    $50,000,001      $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000        to $1          to $10          to $50         to $100          to $500           to $1 billion    $1 billion
                                              million        million         million        million          million
B1 (Official Form 1)Case
                     (4/10)     14-37250            Doc 1          Filed 10/14/14 Entered 10/14/14 17:23:38                                       Desc Main              Page 2
 Voluntary Petition                                                  Document     Page  2Debtor(s):
                                                                                   Name of of 39
 (This page must be completed and filed in every case.)                                GRAY-HOPES, RUTHIE
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
 Location                                                                             Case Number:                                     Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                      Case Number:                                     Date Filed:

 District:                                                                                       Relationship:                                   Judge:
                     Northern District of Illinois
                                           Exhibit A                                                                                 Exhibit B
                                                                                                                     (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q)                           whose debts are primarily consumer debts.)
 with the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the
 Securities Exchange Act of 1934 and is requesting relief under chapter 11.)                     I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
                                                                                                 or 13 of title 11, United States Code, and have explained the relief available under
                                                                                                 each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                                 required by 11 U.S.C. § 342(b).

         Exhibit A is attached and made a part of this petition.                                 X     JOHN HADERLEIN, ESQ.                       10/14/2014
                                                                                                     Signature of Attorney for Debtor(s)       (Date)

                                                                                       Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

         Yes, and Exhibit C is attached and made a part of this petition.

 ✔       No.


                                                                                       Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

     ✔       Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

          Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.



                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
                ✔      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case 14-37250                  Doc 1          Filed 10/14/14 Entered 10/14/14 17:23:38                                     Desc Main
B1 (Official Form) 1 (4/10)                                       Document     Page 3 of 39                                                                       Page 3
Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)                                      GRAY-HOPES, RUTHIE
                                                                                   Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                  Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is
and correct.                                                                                true and correct, that I am the foreign representative of a debtor in a foreign
[If petitioner is an individual whose debts are primarily consumer debts and has            proceeding, and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I         Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                      order granting recognition of the foreign main proceeding is attached.

X     s/ RUTHIE GRAY-HOPES                                                                  X
     Signature of Debtor                                                                        (Signature of Foreign Representative)

X
     Signature of Joint Debtor                                                                  (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
      10/14/2014                                                                                Date
     Date
                                 Signature of Attorney*                                                Signature of Non-Attorney Bankruptcy Petition Preparer

X     s/ JOHN HADERLEIN, ESQ.                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
      JOHN HADERLEIN, ESQ.                                                                  provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
      LAW OFFICES OF JOHN HADERLEIN, ESQ.                                                   guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
     Firm Name                                                                              maximum fee for services chargeable by bankruptcy petition preparers, I have given
      815-C COUNTRY CLUB DRIVE                                                              the debtor notice of the maximum amount before preparing any document for filing
                                                                                            for a debtor or accepting any fee from the debtor, as required in that section.
      LIBERTYVILLE, IL 60048                                                                Official Form 19 is attached.
     Address
      (312) 316-4614
     Telephone Number                                                                           Printed Name and title, if any, of Bankruptcy Petition Preparer
      10/14/2014
     Date                                                                                       Social-Security number (If the bankruptcy petition preparer is not an
                                                                                                individual, state the Social-Security number of the officer, principal,
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                   responsible person or partner of the bankruptcy petition preparer.) (Required
certification that the attorney has no knowledge after an inquiry that the information          by 11 U.S.C. § 110.)
in the schedules is incorrect.

                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true       Address
and correct, and that I have been authorized to file this petition on behalf of the         X
debtor.

The debtor requests the relief in accordance with the chapter of title 11, United States        Date
Code, specified in this petition.
                                                                                            Signature of bankruptcy petition preparer or officer, principal, responsible person,
X                                                                                           or partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                            Names and Social-Security numbers of all other individuals who prepared or
     Printed Name of Authorized Individual
                                                                                            assisted in preparing this document unless the bankruptcy petition preparer is not an
     Title of Authorized Individual                                                         individual.

     Date                                                                                   If more than one person prepared this document, attach additional sheets
                                                                                            conforming to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                            and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment
                                                                                            or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
    Case 14-37250               Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38         Desc Main
                                              Document     Page 4 of 39


B 1D (Official Form 1, Exhibit D) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                            Northern                 Illinois
                                            __________ District of __________


                GRAY-HOPES, RUTHIE F.
          In re__________________________                                       Case No._____________
                                Debtor                                                    (if known)




     EXHIBIT D - INDIVIDUAL DEBTOR’S STATEMENT OF COMPLIANCE WITH
                     CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding
credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
case, and the court can dismiss any case you do file. If that happens, you will lose whatever
filing fee you paid, and your creditors will be able to resume collection activities against
you. If your case is dismissed and you file another bankruptcy case later, you may be
required to pay a second filing fee and you may have to take extra steps to stop creditors’
collection activities.

       Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
must complete and file a separate Exhibit D. Check one of the five statements below and attach
any documents as directed.

          ✔
          u 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the
services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
developed through the agency.

        u 2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
from a credit counseling agency approved by the United States trustee or bankruptcy
administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but I do not have a certificate from the agency describing
the services provided to me. You must file a copy of a certificate from the agency describing the
services provided to you and a copy of any debt repayment plan developed through the agency
no later than 14 days after your bankruptcy case is filed.
  Case 14-37250                Doc 1         Filed 10/14/14 Entered 10/14/14 17:23:38     Desc Main
                                               Document     Page 5 of 39


                                                                                                 Page 2
  B 1D (Official Form 1, Exh. D) (12/09) – Cont.


        u 3. I certify that I requested credit counseling services from an approved agency but
was unable to obtain the services during the seven days from the time I made my request, and the
following exigent circumstances merit a temporary waiver of the credit counseling requirement
so I can file my bankruptcy case now. [Summarize exigent circumstances here.]
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________


       If your certification is satisfactory to the court, you must still obtain the credit
counseling briefing within the first 30 days after you file your bankruptcy petition and
promptly file a certificate from the agency that provided the counseling, together with a
copy of any debt management plan developed through the agency. Failure to fulfill these
requirements may result in dismissal of your case. Any extension of the 30-day deadline
can be granted only for cause and is limited to a maximum of 15 days. Your case may also
be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.

       u 4. I am not required to receive a credit counseling briefing because of: [Check the
applicable statement.] [Must be accompanied by a motion for determination by the court.]

                 u Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
         illness or mental deficiency so as to be incapable of realizing and making rational
         decisions with respect to financial responsibilities.);
                 u Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
         extent of being unable, after reasonable effort, to participate in a credit counseling
         briefing in person, by telephone, or through the Internet.);
                 u Active military duty in a military combat zone.

       u 5. The United States trustee or bankruptcy administrator has determined that the credit
counseling requirement of 11 U.S.C. ' 109(h) does not apply in this district.


       I certify under penalty of perjury that the information provided above is true and
correct.


                                                               s/ RUTHIE F. GRAY-HOPES
                                          Signature of Debtor: ________________________

                                                   10-14-2014
                                          Date: _________________
                 Case 14-37250             Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                          Desc Main
                                                         Document     Page 6 of 39
B 6 Summary (Official Form 6 - Summary) (12/13)



                                       UNITED STATES BANKRUPTCY COURT
                                                       Northern District
                                                    __________   Districtof of
                                                                            Illinois
                                                                                __________

       GRAY-HOPES, RUTHIE F.
In re ___________________________________,                                                Case No. ___________________
                 Debtor
                                                                                                   13
                                                                                          Chapter ____________

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical
Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.

                                                  ATTACHED
 NAME OF SCHEDULE                                  (YES/NO)      NO. OF SHEETS             ASSETS               LIABILITIES              OTHER

 A - Real Property                                                                    $
                                             YES                                  1                0.00

 B - Personal Property                                                                $
                                             YES                                  3          3,050.00

 C - Property Claimed
     as Exempt
                                             YES                                  1

 D - Creditors Holding                                                                                      $
     Secured Claims                          YES                                  1                                         0.00

 E - Creditors Holding Unsecured                                                                            $
                                             YES                                  2                                         0.00
     Priority Claims
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured                                                                            $
     Nonpriority Claims
                                             YES                                  1                                  11,441.86


 G - Executory Contracts and
     Unexpired Leases
                                             YES                                  1


 H - Codebtors                               YES                                  1

 I - Current Income of                                                                                                              $
                                             YES                                  2                                                         1,624.25
     Individual Debtor(s)

 J - Current Expenditures of Individual      YES                                  3                                                 $       1,348.25
     Debtors(s)

                                          TOTAL                                       $                     $
                                                                                16           3,050.00                11,441.86
               Case 14-37250              Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                         Desc Main
                                                        Document     Page 7 of 39
B 6 Summary (Official Form 6 - Summary) (12/13)


                                   UNITED STATES BANKRUPTCY COURT
                                                       Northern
                                                  __________    District of
                                                              District   of Illinois
                                                                            ______________
       GRAY-HOPES, RUTHIE F.
In re ___________________________________,                                               Case No. ___________________
                 Debtor
                                                                                                  13
                                                                                         Chapter ____________

    STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

          Q Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                       $          0.00
 Taxes and Certain Other Debts Owed to Governmental Units             $          0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                 $          0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                           $          0.00

 Domestic Support, Separation Agreement, and Divorce Decree           $          0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar          $          0.00
 Obligations (from Schedule F)

                                                           TOTAL      $          0.00

State the following:
 Average Income (from Schedule I, Line 12)                            $     1,624.25
 Average Expenses (from Schedule J, Line 22)                          $     1,348.25

 Current Monthly Income (from Form 22A Line 12; OR, Form              $     1,624.25
 22B Line 11; OR, Form 22C Line 20 )

State the following:
  1. Total from Schedule D, “UNSECURED PORTION, IF                                         $           0.00
  ANY” column

  2. Total from Schedule E, “AMOUNT ENTITLED TO                       $           0.00
  PRIORITY” column.

  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $           0.00
  PRIORITY, IF ANY” column

  4. Total from Schedule F                                                                 $    11,441.86

  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $    11,441.86
              Case 14-37250               Doc 1        Filed 10/14/14 Entered 10/14/14 17:23:38                               Desc Main
B6A (Official Form 6A) (12/07)                           Document     Page 8 of 39
             GRAY-HOPES, RUTHIE F.
In re _____________________________________________,                                                    Case No. ______________________________
                 Debtor                                                                                                  (If known)


                                           SCHEDULE A - REAL PROPERTY
    Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,”
“W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
“Description and Location of Property.”

   Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

    If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

   If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.




             DESCRIPTION AND                                                                       CURRENT VALUE                      AMOUNT OF
               LOCATION OF                           NATURE OF DEBTOR’S                              OF DEBTOR’S                       SECURED
                PROPERTY                            INTEREST IN PROPERTY                             INTEREST IN                        CLAIM
                                                                                                 PROPERTY, WITHOUT
                                                                                                   DEDUCTING ANY
                                                                                                   SECURED CLAIM
                                                                                                    OR EXEMPTION

 NONE.




                                                                                 Total                    $0.00
                                                                                 (Report also on Summary of Schedules.)
           Case
B6B (Official Form14-37250
                   6B) (12/07)                  Doc 1   Filed 10/14/14 Entered 10/14/14 17:23:38                               Desc Main
                                                          Document     Page 9 of 39
                 GRAY-HOPES, RUTHIE F.
In re _______________________________________________,                                                    Case No. _________________________
                 Debtor                                                                                                    (If known)


                                          SCHEDULE B - PERSONAL PROPERTY
           Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital
community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                              CURRENT VALUE OF
                                                                                                                              DEBTOR’S INTEREST
                                                  N                                                                           IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O                DESCRIPTION AND LOCATION                                   OUT DEDUCTING ANY
                                                  N                      OF PROPERTY                                            SECURED CLAIM
                                                  E                                                                              OR EXEMPTION

 1. Cash on hand.                                       Cash                                                                          $50.00
 2. Checking, savings or other finan-
 cial accounts, certificates of deposit                 Checking                                                                   $1,000.00
 or shares in banks, savings and loan,
 thrift, building and loan, and home-
 stead associations, or credit unions,
 brokerage houses, or cooperatives.

 3. Security deposits with public util-
 ities, telephone companies, land-                x
 lords, and others.

 4. Household goods and furnishings,
 including audio, video, and computer                   Home                                                                        $1,000.00
 equipment.

 5. Books; pictures and other art
 objects; antiques; stamp, coin,                  x
 record, tape, compact disc, and other
 collections or collectibles.

 6. Wearing apparel.                              x     Home                                                                        $1,000.00
 7. Furs and jewelry.
                                                  x
 8. Firearms and sports, photo-
 graphic, and other hobby equipment.              x
 9. Interests in insurance policies.
 Name insurance company of each                   x
 policy and itemize surrender or
 refund value of each.

 10. Annuities. Itemize and name
 each issuer.                                     x
 11. Interests in an education IRA as
 defined in 26 U.S.C. § 530(b)(1) or under        x
 a qualified State tuition plan as defined in
 26 U.S.C. § 529(b)(1). Give particulars.
 (File separately the record(s) of any such
 interest(s). 11 U.S.C. § 521(c).)
           Case
B6B (Official Form14-37250        Doc 1
                   6B) (12/07) -- Cont.               Filed 10/14/14 Entered 10/14/14 17:23:38        Desc Main
                                                       Document     Page 10 of 39

      GRAY-HOPES, RUTHIE F.
In re ______________________________________________,                                 Case No. _________________________
                 Debtor                                                                                (If known)


                                           SCHEDULE B - PERSONAL PROPERTY
                                                           (Continuation Sheet)

                                                                                                     CURRENT VALUE OF
                                                                                                     DEBTOR’S INTEREST
                                                  N                                                  IN PROPERTY, WITH-
          TYPE OF PROPERTY                        O        DESCRIPTION AND LOCATION                  OUT DEDUCTING ANY
                                                  N              OF PROPERTY                           SECURED CLAIM
                                                  E                                                     OR EXEMPTION


 12. Interests in IRA, ERISA, Keogh, or
 other pension or profit sharing plans.
                                                  x
 Give particulars.

 13. Stock and interests in incorporated
 and unincorporated businesses.                   x
 Itemize.

 14. Interests in partnerships or joint
 ventures. Itemize.                               x
 15. Government and corporate bonds
 and other negotiable and non-                    x
 negotiable instruments.

 16. Accounts receivable.
                                                  x
 17. Alimony, maintenance, support,
 and property settlements to which the            x
 debtor is or may be entitled. Give
 particulars.

 18. Other liquidated debts owed to
 debtor including tax refunds. Give               x
 particulars.

 19. Equitable or future interests, life
 estates, and rights or powers exercisable        x
 for the benefit of the debtor other than
 those listed in Schedule A – Real
 Property.

 20. Contingent and noncontingent
 interests in estate of a decedent, death         x
 benefit plan, life insurance policy, or trust.

 21. Other contingent and unliquidated
 claims of every nature, including tax            x
 refunds, counterclaims of the debtor, and
 rights to setoff claims. Give estimated
 value of each.
           Case
B6B (Official Form14-37250        Doc 1
                   6B) (12/07) -- Cont.            Filed 10/14/14 Entered 10/14/14 17:23:38                       Desc Main
                                                    Document     Page 11 of 39
                  GRAY-HOPES, RUTHIE F.
In re _________________________________________________,                                          Case No. _________________________
                 Debtor                                                                                            (If known)

                                            SCHEDULE B - PERSONAL PROPERTY
                                                             (Continuation Sheet)


                                                                                                                 CURRENT VALUE OF
                                                                                                                 DEBTOR’S INTEREST
                                               N                                                                 IN PROPERTY, WITH-
          TYPE OF PROPERTY                     O         DESCRIPTION AND LOCATION                                OUT DEDUCTING ANY
                                               N               OF PROPERTY                                         SECURED CLAIM
                                               E                                                                    OR EXEMPTION


 22. Patents, copyrights, and other
 intellectual property. Give particulars.      x
 23. Licenses, franchises, and other general
 intangibles. Give particulars.                x
 24. Customer lists or other compilations
 containing personally identifiable
 information (as defined in 11 U.S.C.
                                               x
  § 101(41A)) provided to the debtor by
 individuals in connection with obtaining a
 product or service from the debtor
 primarily for personal, family, or
 household purposes.

  25. Automobiles, trucks, trailers,
 and other vehicles and accessories.           x
 26. Boats, motors, and accessories.
                                               x
 27. Aircraft and accessories.
                                               x
 28. Office equipment, furnishings,
 and supplies.
                                               x

 29. Machinery, fixtures, equipment,
 and supplies used in business.                x

 30. Inventory.
                                               x
 31. Animals.
                                               x
 32. Crops - growing or harvested.
 Give particulars.                             x

 33. Farming equipment and implements.
                                               x
 34. Farm supplies, chemicals, and feed.
                                               x
 35. Other personal property of any kind
 not already listed. Itemize.                  x

                                                             0
                                                         __________continuation sheets attached     Total     $ 3,050.00
                                                                (Include amounts from any continuation
                                                                sheets attached. Report total also on
                                                                            Summary of Schedules.)
               Case
B6C (Official Form      14-37250
                   6C) (04/13)         Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                           Desc Main
                                                    Document     Page 12 of 39
      GRAY-HOPES, RUTHIE F.
In re ____________________________________________,                                     Case No. _________________________
                          Debtor                                                                            (If known)


                        SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

 Debtor claims the exemptions to which debtor is entitled under:        G Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                          $155,675.*
 ✔ 11 U.S.C. § 522(b)(2)
 G
 G 11 U.S.C. § 522(b)(3)




                                                                                                                         CURRENT
                                              SPECIFY LAW                            VALUE OF                       VALUE OF PROPERTY
  DESCRIPTION OF PROPERTY                   PROVIDING EACH                           CLAIMED                        WITHOUT DEDUCTING
                                               EXEMPTION                            EXEMPTION                           EXEMPTION



  Cash, checking, furniture,          735 ILCS 5/12-1001(b)                                      4,000.00                             3,050.00
  wearing apparel




* Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                Case 14-37250               Doc 1                  Filed 10/14/14 Entered 10/14/14 17:23:38                                              Desc Main
                                                                    Document     Page 13 of 39
B6D (Official Form 6D) (12/07)
                                  GRAY-HOPES, RUTHIE F.
                    In re ____________________________________,                                                   Case No. __________________________________
                                       Debtor                                                                                            (If known)

                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.

          
          ✔         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                  HUSBAND, WIFE,




  CREDITOR’S NAME AND                                               DATE CLAIM WAS                         UNLIQUIDATED              AMOUNT OF CLAIM                UNSECURED
                                                                                              CONTINGENT
                                                   COMMUNITY
                                       CODEBTOR




     MAILING ADDRESS                                                   INCURRED,                                                         WITHOUT                    PORTION, IF
                                                    JOINT, OR




 INCLUDING ZIP CODE AND                                             NATURE OF LIEN ,                                      DISPUTED   DEDUCTING VALUE                   ANY
   AN ACCOUNT NUMBER                                                      AND                                                         OF COLLATERAL
    (See Instructions Above.)                                         DESCRIPTION
                                                                     AND VALUE OF
                                                                       PROPERTY
                                                                    SUBJECT TO LIEN
 ACCOUNT
ACCOUNT NO.NO.




                                                                     VALUE
                                                                    VALUE $   $
ACCOUNTNO.
ACCOUNT NO.




                                                                     VALUE
                                                                    VALUE $   $
 ACCOUNT
ACCOUNT NO.   NO.




                                                                     VALUE
                                                                    VALUE $  $
____                                                                Subtotal                                                        $ 0.00                       $ 0.00
 0 continuation sheets                                              (Total of this page)
     attached
                                                                    Total                                                           $ 0.00                       $ 0.00
                                                                    (Use only on last page)
                                                                                                                                     (Report also on Summary of   (If applicable, report
                                                                                                                                     Schedules.)                  also on Statistical
                                                                                                                                                                  Summary of Certain
                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                  Data.)
              Case 14-37250               Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                               Desc Main
                                                       Document     Page 14 of 39
B6E (Official Form 6E) (04/13)


          In re GRAY-HOPES, RUTHIE F.                             ,                                     Case No.
                                 Debtor                                                                                     (if known)


         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

    The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife,
both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife,
Joint, or Community."        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in
the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more
than one of these three columns.)

    Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule
E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

    Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

✔ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations

    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case

  Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions

  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
    Contributions to employee benefit plans

  Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


 * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
              Case 14-37250              Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                              Desc Main
                                                      Document     Page 15 of 39
B6E (Official Form 6E) (04/13) – Cont.



 In re GRAY-HOPES, RUTHIE F.                                       ,             Case No.
                              Debtor                                                                (if known)




    Certain farmers and fishermen

 Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals

  Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units

 Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution

  Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).


    Claims for Death or Personal Injury While Debtor Was Intoxicated

  Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
drug, or another substance. 11 U.S.C. § 507(a)(10).




* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.




                                                            0 continuation sheets attached
                                                           ____
               Case
B6F (Official Form 6F)14-37250
                       (12/07)                  Doc 1            Filed 10/14/14 Entered 10/14/14 17:23:38                                                 Desc Main
                                                                  Document     Page 16 of 39
                GRAY-HOPES, RUTHIE F.
In re __________________________________________,                                                             Case No. _________________________________
                        Debtor                                                                                                     (if known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
    State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed.
R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital
community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

    Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities
and Related Data..

    G Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                        HUSBAND, WIFE,

                                                         COMMUNITY




      CREDITOR’S NAME,                                                        DATE CLAIM WAS                                                              AMOUNT OF




                                                                                                                                UNLIQUIDATED
                                                          JOINT, OR




                                                                                                                   CONTINGENT
                                             CODEBTOR




       MAILING ADDRESS                                                         INCURRED AND                                                                 CLAIM




                                                                                                                                               DISPUTED
     INCLUDING ZIP CODE,                                                    CONSIDERATION FOR
    AND ACCOUNT NUMBER                                                            CLAIM.
          (See   instructions above.)                                      IF CLAIM IS SUBJECT TO
                                                                              SETOFF, SO STATE.


  ACCOUNT NO.            14DS00161L                                      09/2013 (BUILDING CODE
                                                                         VIOLATIONS)
 CITY OF CHICAGO
 121 N. LASALLE, ROOM 107A                                                                                                                                   $540.95
 CHICAGO, IL 60602



  ACCOUNT NO.                                                            2001-2002, various parking tickets

 CITY OF CHICAGO
 121 N. LASALLE, ROOM 107A                                                                                                                                   $954.00
 CHICAGO, IL 60602



  ACCOUNT NO.              ****2697                                      10/2013, OVERPAYMENT OF CHILD
                                                                         SUPPORT
 IL DHS/CASH MGMT.UNIT
 P.O. BOX 19407                                                                                                                                             $9,337.91
 SPRINGFIELD, IL 62794-9407


  ACCOUNT NO.                                                            02/2008

 BB MIDLAND FUNDING
 227 W. TRADE STREET, SUITE 1610
                                                                                                                                                             $609.00
 CHARLOTTE, NC 28202-1676


                                                                                                                                    Subtotal              $ 11,441.86

   0
  _____continuation sheets attached                                                                                            Total                      $ 11,441.86
                                                                                 (Use only on last page of the completed Schedule F.)
                                                             (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                   Summary of Certain Liabilities and Related Data.)
    Case 14-37250              Doc 1        Filed 10/14/14 Entered 10/14/14 17:23:38                               Desc Main
                                             Document     Page 17 of 39
B6G (Official Form 6G) (12/07)

In re            GRAY-HOPES, RUTHIE F.                        ,                    Case No.
                   Debtor                                                                               (if known)


        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
    interests. State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
    lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
    a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent
    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and
    Fed. R. Bankr. P. 1007(m).


✔ Check this box if debtor has no executory contracts or unexpired leases.
          NAME AND MAILING ADDRESS,                                      DESCRIPTION OF CONTRACT OR LEASE AND
              INCLUDING ZIP CODE,                                         NATURE OF DEBTOR’S INTEREST. STATE
    OF OTHER PARTIES TO LEASE OR CONTRACT.                               WHETHER LEASE IS FOR NONRESIDENTIAL
                                                                            REAL PROPERTY. STATE CONTRACT
                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
           Case
B6H (Official Form14-37250
                   6H) (12/07)           Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                              Desc Main
                                                      Document     Page 18 of 39
In re           GRAY-HOPES, RUTHIE F.                     ,                                       Case No.
                    Debtor                                                                                                 (if known)


                                                   SCHEDULE H - CODEBTORS
    Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the
child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

✔    Check this box if debtor has no codebtors.


               NAME AND ADDRESS OF CODEBTOR                                               NAME AND ADDRESS OF CREDITOR
                  Case 14-37250              Doc 1         Filed 10/14/14 Entered 10/14/14 17:23:38                                Desc Main
                                                            Document     Page 19 of 39
 Fill in this information to identify your case:

                    RUTHIE F. GRAY-HOPES
 Debtor 1           ___________________________________________________________________
                     First Name              Middle Name                Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                             Northern District of Illinois District of __________

 Case number         ___________________________________________                                           Check if this is:
  (If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing post-petition
                                                                                                              chapter 13 income as of the following date:
                                                                                                              ________________
Official Form 6I                                                                                            MM / DD / YYYY


Schedule I: Your Income                                                                                                                                 12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                              Debtor 1                                      Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional          Employment status                 Employed                                          Employed
    employers.                                                             ✔
                                                                            Not employed                                      Not employed
    Include part-time, seasonal, or
    self-employed work.
                                          Occupation
                                                                           UNEMPLOYED TEACHER
                                                                          __________________________________            __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                          Employer’s name                __________________________________              __________________________________


                                          Employer’s address             _______________________________________       ________________________________________
                                                                          Number Street                                 Number    Street

                                                                         _______________________________________       ________________________________________

                                                                         _______________________________________       ________________________________________

                                                                         _______________________________________       ________________________________________
                                                                          City            State  ZIP Code                City                State ZIP Code

                                          How long employed there?          2 _______
                                                                              YEARS                                       _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.               2.
                                                                                                     $___________           $____________

 3. Estimate and list monthly overtime pay.                                                    3.   + $___________      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                               4.    $__________            $____________



Official Form 6I                                                   Schedule I: Your Income                                                        page 1
                 Case 14-37250                       Doc 1            Filed 10/14/14 Entered 10/14/14 17:23:38                                        Desc Main
                 RUTHIE F. GRAY-HOPES
                                                                       Document     Page 20 of 39
Debtor 1         _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.     $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.     $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.     $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.     $____________            $_____________
     5d. Required repayments of retirement fund loans                                                           5d.     $____________            $_____________
     5e. Insurance                                                                                              5e.     $____________            $_____________
     5f. Domestic support obligations                                                                           5f.     $____________            $_____________

     5g. Union dues                                                                                             5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                          5h.    + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.     $____________            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.     $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.     $____________            $_____________
     8e. Social Security                                                                                        8e.        1,124.25
                                                                                                                        $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                         $____________            $_____________
         Nutrition Assistance Program) or housing subsidies.
                    CONTRIBUTION BY CHILD
         Specify: ___________________________________________________              8f.

     8g. Pension or retirement income                                                                           8g.          500.00
                                                                                                                        $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                         8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.        1,624.25
                                                                                                                        $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                           1,624.25
                                                                                                                        $___________     +                            1,624.25
                                                                                                                                                 $_____________ = $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                         1,624.25
                                                                                                                                                                     $_____________
                                                                                                                                                                     Combined
                                                                                                                                                                     monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
     
     ✔     Yes. Explain:         Getting a new job (substitute school teacher)

Official Form 6I                                                                Schedule I: Your Income                                                                page 2
                   Case 14-37250              Doc 1         Filed 10/14/14 Entered 10/14/14 17:23:38                                 Desc Main
                                                             Document     Page 21 of 39
  Fill in this information to identify your case:

  Debtor 1           RUTHIE F. GRAY-HOPES
                    __________________________________________________________________
                      First Name              Middle Name                Last Name                        Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                Last Name
                                                                                                           An amended filing
                                                                                                           A supplement showing post-petition chapter 13
  United States Bankruptcy Court for the: ______________________
                                              Northern District of Illinois District of __________
                                                                                                              expenses as of the following date:
                                                                                                              ________________
  Case number         ___________________________________________                                             MM / DD / YYYY
  (If known)
                                                                                                           A separate filing for Debtor 2 because Debtor 2
                                                                                                              maintains a separate household
Official Form %6J
Schedule J: Your Expenses                                                                                                                                12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
               ✔
                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                     No                                     Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                         age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                  No
                                                                                       _________________________                ________
   names.                                                                                                                                         Yes

                                                                                       _________________________                ________          No
                                                                                                                                                  Yes

                                                                                       _________________________                ________          No
                                                                                                                                                  Yes

                                                                                       _________________________                ________          No
                                                                                                                                                  Yes

                                                                                       _________________________                ________          No
                                                                                                                                                  Yes

3. Do your expenses include                 ✔
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form %6I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                700.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                             4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                  4b.     $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                 4c.     $_____________________
     4d.    Homeowner’s association or condominium dues                                                                   4d.     $_____________________

Official Form %6J                                              Schedule J: Your Expenses                                                            page 1
                 Case 14-37250                Doc 1        Filed 10/14/14 Entered 10/14/14 17:23:38                     Desc Main
                                                            Document     Page 22 of 39
                  RUTHIE F. GRAY-HOPES
 Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.                  264.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.    $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.                  100.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.    $_____________________

 7. Food and housekeeping supplies                                                                            7.                   284.25
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_____________________
10.   Personal care products and services                                                                     10.    $_____________________
11.   Medical and dental expenses                                                                             11.    $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $_____________________
14.   Charitable contributions and religious donations                                                        14.    $_____________________

15.   Insurance.                                                                                                                                    1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.   $_____________________
      15b. Health insurance                                                                                   15b.   $_____________________
      15c. Vehicle insurance                                                                                  15c.   $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                         17a.   $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted
      fromyour pay on line 5, Schedule I, Your Income (Official Form %6I).                                   18.   $_____________________


19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.   $_____________________

      20b. Real estate taxes                                                                                  20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.   $_____________________



 Official Form %6J                                            Schedule J: Your Expenses                                                   page 2
                 Case 14-37250                Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                         Desc Main
                                                           Document     Page 23 of 39
                  RUTHIE F. GRAY-HOPES
 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                         21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               1,348.25
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                     1,624.25
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 1,348.25
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                      276.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔
         No.
         Yes.     Explain here:




 Official Form %6J                                           Schedule J: Your Expenses                                                       page 3
                     Case 14-37250
B6 Declaration (Official Form 6 - Declaration) (12/07)       Doc 1              Filed 10/14/14 Entered 10/14/14 17:23:38                                                                Desc Main
                                                                                 Document     Page 24 of 39
                         GRAY-HOPES, RUTHIE F.
               In re _________________________________________ ,                                                                          Case No. ______________________________
                                    Debtor                                                                                                                     (if known)




                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                            18 sheets, and that they are true and correct to the best of
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
my knowledge, information, and belief.


                10-14-2014
Date __________________________________                                                                                                /s/ RUTHIE F. GRAY-HOPES
                                                                                                                    Signature: ________________________________________________
                                                                                                                                                       Debtor

Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                          [If joint case, both spouses must sign.]

                                   -------------------------------------------------------------------------------------------------------------------------------------------
                             DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

_____________________________________________________                                             _____________________________
Printed or Typed Name and Title, if any,                                                          Social Security No.
of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
who signs this document.

Address
_________________________________
_________________________________
_________________________________
Address

X _____________________________________________________                                                                         ____________________
 Signature of Bankruptcy Petition Preparer                                                                                      Date


Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
18 U.S.C. § 156.
   --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


    I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
read the foregoing summary and schedules, consisting of ___ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
knowledge, information, and belief.


Date ______________________________________
                                                                                                        Signature: _____________________________________________________________

                                                                                                                       ____________________________________________________________
                                                                                                                         [Print or type name of individual signing on behalf of debtor.]

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
 ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
              Case 14-37250                 Doc 1 Filed 10/14/14 Entered 10/14/14 17:23:38                                       Desc Main
            B 201 In re                     GRAY-HOPES,  RUTHIE Page
                                                   Document      F.         Case No.
                                                                     25 of 39                                                         Page 2
                                                          Debtor                                                                 (If known)
B 201 (04/09/06)
                                         UNITED STATES BANKRUPTCY COURT

               NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                             OF THE BANKRUPTCY CODE
                    In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services
          available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
          types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
          notifies you that the Attorney General may examine all information you supply in connection with a
          bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily described. Thus,
          you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide
          to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

         With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved
budget and credit counseling agencies.

        In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

           Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
           1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose debts are primarily
consumer debts are subject to a “means test” designed to determine whether the case should be permitted to proceed under chapter 7. If your income is
greater than the median income for your state of residence and family size, in some cases, creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
           2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take possession of and
sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
           3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have committed certain kinds
of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the purpose for which you filed the bankruptcy
petition will be defeated.
           4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be responsible for most
taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement obligations; most fines, penalties, forfeitures,
and criminal restitution obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by
operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

          Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
$39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your future
earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your income and other factors. The court
must approve your plan before it can take effect.
               Case 14-37250                 Doc 1         Filed 10/14/14 Entered 10/14/14 17:23:38                                Desc Main
             B 201                                          Document     Page 26 of 39                                                  Page 2

            3. After completing the payments under your plan, your debts are generally discharged except for domestic support obligations; most student loans;
 certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your bankruptcy papers; certain debts for acts that
 caused death or personal injury; and certain long term secured obligations.

           Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
           Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite complicated, and any
 decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

           Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
           Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings and is similar to
 chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a family-owned farm or commercial fishing
 operation.

 3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
 perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
 information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
 acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
 employees of the Department of Justice.

 WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
 creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
 this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
 the local rules of the court.

                                        Certificate of [Non-Attorney] Bankruptcy Petition Preparer
          I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this
 notice required by § 342(b) of the Bankruptcy Code.
 ________________________________________                                                       ___________________________________
 Printed name and title, if any, of Bankruptcy Petition Preparer                                Social Security number (If the bankruptcy petition
Address                                                                                         preparer is not an individual, state the Social Security
 Address:                                                                                       number of the officer, principal, responsible person, or
 ________________________________________                                                       partner of the bankruptcy petition preparer.) (Required
                                                                                                by 11 U.S.C. § 110.)
 X_______________________________________
 Signature of Bankruptcy Petition Preparer or officer,
 principal, responsible person, or partner whose Social
 Security number is provided above.

                                                                 Certificate of the Debtor
           I (W e), the debtor(s), affirm that I (we) have received and read this notice.

                   RUTHIE F. GRAY HOPES
 _________________________________________                                             /s/ RUTHIE F. GRAY-HOPES       10-14-2014
                                                                                     X___________________________________
 Printed Name(s) of Debtor(s)                                                        Signature of Debtor         Date

 Case No. (if known) ____________________                                            X___________________________________
                                                                                     Signature of Joint Debtor (if any) Date
    Case 14-37250               Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                                Desc Main
                                             Document     Page 27 of 39


B7 (Official Form 7) (04/13)



                                UNITED STATES BANKRUPTCY COURT
                                              Northern District
                                              __________        of of
                                                         District  Illinois
                                                                      _________



       GRAY-HOPES, RUTHIE F.
In re:________________________________________,                          Case No. ___________________________________
                       Debtor                                                                 (if known)




                                    STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the
child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C.
§112 and Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.


                                                            DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
the debtor. 11 U.S.C. § 101(2), (31).

____________________________________________________________________________________________________

          1.    Income from employment or operation of business

None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
✔         the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
          two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
          the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
          of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
          under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
          spouses are separated and a joint petition is not filed.)

          AMOUNT                                                    SOURCE
    Case 14-37250              Doc 1        Filed 10/14/14 Entered 10/14/14 17:23:38                              Desc Main
                                             Document     Page 28 of 39

B7 (Official Form 7) (04/13)                                                                                                            2

          2.    Income other than from employment or operation of business

None      State the amount of income received by the debtor other than from employment, trade, profession, operation of the
✔         debtor's business during the two years immediately preceding the commencement of this case. Give particulars. If a
          joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
          must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

          AMOUNT                                                   SOURCE




____________________________________________________________________________________________________

          3.    Payments to creditors

          Complete a. or b., as appropriate, and c.
None
G
✔         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
          goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
          this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
          Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or
          as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling
          agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                             DATES OF                  AMOUNT              AMOUNT
                                                                   PAYMENTS                  PAID                STILL OWING




None
G         b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
          within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
          constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk
          (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
          repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors
          filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or
          not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                             DATES OF                  AMOUNT              AMOUNT
                                                                   PAYMENTS/                 PAID OR             STILL
                                                                   TRANSFERS                 VALUE OF            OWING
                                                                                             TRANSFERS




          *
            Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or
after the date of adjustment.
    Case 14-37250              Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                              Desc Main
                                            Document     Page 29 of 39

B7 (Official Form 7) (04/13)                                                                                                          3

None

G
✔         c. All debtors: List all payments made within one year immediately preceding the commencement of this case
          to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
          include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)

          NAME AND ADDRESS OF CREDITOR                       DATE OF             AMOUNT               AMOUNT
          AND RELATIONSHIP TO DEBTOR                         PAYMENT             PAID                 STILL OWING




____________________________________________________________________________________________________



          4. Suits and administrative proceedings, executions, garnishments and attachments

None      a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
✔         preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
          information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
          and a joint petition is not filed.)

          CAPTION OF SUIT               NATURE OF                 COURT OR AGENCY                     STATUS OR
          AND CASE NUMBER               PROCEEDING                AND LOCATION                        DISPOSITION




None      b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
✔         year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
          must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS                                        DATE OF                             DESCRIPTION
          OF PERSON FOR WHOSE                                     SEIZURE                             AND VALUE
          BENEFIT PROPERTY WAS SEIZED                                                                 OF PROPERTY



_____________________________________________________________________________________________________

          5.    Repossessions, foreclosures and returns

None      List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
✔         of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
          spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS                              DATE OF REPOSSESSION,                         DESCRIPTION
          OF CREDITOR OR SELLER                         FORECLOSURE SALE,                             AND VALUE
                                                        TRANSFER OR RETURN                            OF PROPERTY




____________________________________________________________________________________________________
    Case 14-37250              Doc 1        Filed 10/14/14 Entered 10/14/14 17:23:38                               Desc Main
                                             Document     Page 30 of 39

B7 (Official Form 7) (04/13)                                                                                                          4

          6.    Assignments and receiverships

None      a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
✔         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by
          either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
          filed.)

          NAME AND ADDRESS                    DATE OF                              TERMS OF
          OF ASSIGNEE                         ASSIGNMENT                           ASSIGNMENT
                                                                                   OR SETTLEMENT




None      b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
✔         immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
          include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
          spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS                    NAME AND LOCATION                    DATE OF              DESCRIPTION
          OF CUSTODIAN                        OF COURT                             ORDER                AND VALUE
                                              CASE TITLE & NUMBER                                       Of PROPERTY



____________________________________________________________________________________________________


          7.    Gifts

None      List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
✔         except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
          and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
          chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS                    RELATIONSHIP                         DATE                 DESCRIPTION
          OF PERSON                           TO DEBTOR,                           OF GIFT              AND VALUE
          OR ORGANIZATION                     IF ANY                                                    OF GIFT



____________________________________________________________________________________________________

          8.    Losses

None      List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
✔         of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
          include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)

          DESCRIPTION                    DESCRIPTION OF CIRCUMSTANCES AND, IF                           DATE
          AND VALUE OF                   LOSS WAS COVERED IN WHOLE OR IN PART                           OF LOSS
          PROPERTY                       BY INSURANCE, GIVE PARTICULARS




____________________________________________________________________________________________________
    Case 14-37250              Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                               Desc Main
                                            Document     Page 31 of 39

B7 (Official Form 7) (04/13)                                                                                                            5

          9.    Payments related to debt counseling or bankruptcy

None      List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
          consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
          within one year immediately preceding the commencement of this case.

          NAME AND ADDRESS                    DATE OF PAYMENT,                    AMOUNT OF MONEY OR
          OF PAYEE                            NAME OF PAYER IF                    DESCRIPTION AND
                                              OTHER THAN DEBTOR                   VALUE OF PROPERTY

 JOHN HADERLEIN, ESQ.                          10/2014                              $310.00
 815-C COUNTRY CLUB DR.
 LIBERTYVILLE, IL 60048
 CREDIT COUNSELLING                            10/2014                              $25.00
____________________________________________________________________________________________________

          10. Other transfers
None
✔          a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of
          the debtor, transferred either absolutely or as security within two years immediately preceding the commencement of
          this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
          whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS                              DATE                      DESCRIBE PROPERTY
          OF TRANSFEREE,                                                          TRANSFERRED AND
          RELATIONSHIP TO DEBTOR                                                  VALUE RECEIVED


None
G
✔         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
          to a self-settled trust or similar device of which the debtor is a beneficiary.

          NAME OF TRUST OR OTHER                        DATE(S) OF                AMOUNT OF MONEY OR DESCRIPTION
          DEVICE                                        TRANSFER(S)               AND VALUE OF PROPERTY OR DEBTOR’S
                                                                                  INTEREST IN PROPERTY


____________________________________________________________________________________________________

          11. Closed financial accounts

None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
✔         closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
          checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
          held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
          institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
          instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
          separated and a joint petition is not filed.)

          NAME AND ADDRESS                    TYPE OF ACCOUNT, LAST FOUR                               AMOUNT AND
          OF INSTITUTION                      DIGITS OF ACCOUNT NUMBER,                                DATE OF SALE
                                              AND AMOUNT OF FINAL BALANCE                              OR CLOSING




____________________________________________________________________________________________________
    Case 14-37250              Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                              Desc Main
                                            Document     Page 32 of 39

B7 (Official Form 7) (04/13)                                                                                                         6

          12. Safe deposit boxes

None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
✔         within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
          chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
          the spouses are separated and a joint petition is not filed.)

          NAME AND ADDRESS              NAMES AND ADDRESSES                 DESCRIPTION          DATE OF TRANSFER
          OF BANK OR                    OF THOSE WITH ACCESS                OF                   OR SURRENDER,
          OTHER DEPOSITORY              TO BOX OR DEPOSITORY                CONTENTS             IF ANY



____________________________________________________________________________________________________

          13. Setoffs

None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
✔         the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
          concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
          petition is not filed.)

          NAME AND ADDRESS                              DATE OF                                  AMOUNT
          OF CREDITOR                                   SETOFF                                   OF SETOFF



____________________________________________________________________________________________________

          14. Property held for another person

None      List all property owned by another person that the debtor holds or controls.
✔

          NAME AND ADDRESS                              DESCRIPTION AND                          LOCATION OF PROPERTY
          OF OWNER                                      VALUE OF PROPERTY




____________________________________________________________________________________________________

          15. Prior address of debtor

None
G
✔         If debtor has moved within three years immediately preceding the commencement of this case, list all premises
          which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
          filed, report also any separate address of either spouse.

          ADDRESS                                       NAME USED                                DATES OF OCCUPANCY




____________________________________________________________________________
    Case 14-37250              Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                              Desc Main
                                            Document     Page 33 of 39

B7 (Official Form 7) (04/13)                                                                                                         7

          16. Spouses and Former Spouses

None      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
✔         California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight
          years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
          any former spouse who resides or resided with the debtor in the community property state.

          NAME

___________________________________________________________________________________________________

          17. Environmental Information.

          For the purpose of this question, the following definitions apply:

          "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
          releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
          other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
          or material.

          "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
          formerly owned or operated by the debtor, including, but not limited to, disposal sites.

          "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
          material, pollutant, or contaminant or similar term under an Environmental Law.


None      a. List the name and address of every site for which the debtor has received notice in writing by a governmental
✔         unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
          governmental unit, the date of the notice, and, if known, the Environmental Law:

          SITE NAME                     NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
          AND ADDRESS                   OF GOVERNMENTAL UNIT                     NOTICE               LAW




None      b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
✔         of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

          SITE NAME                     NAME AND ADDRESS                         DATE OF              ENVIRONMENTAL
          AND ADDRESS                   OF GOVERNMENTAL UNIT                     NOTICE               LAW



None      c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
✔         respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
          to the proceeding, and the docket number.

          NAME AND ADDRESS                                   DOCKET NUMBER                            STATUS OR
          OF GOVERNMENTAL UNIT                                                                        DISPOSITION



____________________________________________________________________________________________________

          18 . Nature, location and name of business

None      a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
✔         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
          executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
    Case 14-37250              Doc 1        Filed 10/14/14 Entered 10/14/14 17:23:38                               Desc Main
                                             Document     Page 34 of 39

B7 (Official Form 7) (04/13)                                                                                                          8

          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
          the commencement of this case.

          If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
          voting or equity securities, within six years immediately preceding the commencement of this case.

          If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and
          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
          voting or equity securities within six years immediately preceding the commencement of this case.

          NAME             LAST FOUR DIGITS     ADDRESS                  NATURE OF BUSINESS             BEGINNING AND
                           OF SOCIAL-SECURITY                                                           ENDING DATES
                           OR OTHER INDIVIDUAL
                           TAXPAYER-I.D. NO.
                           (ITIN)/ COMPLETE EIN




None      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as
✔         defined in 11 U.S.C. § 101.

          NAME                                           ADDRESS



____________________________________________________________________________________________________

           The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

          (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
business, as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been
in business within those six years should go directly to the signature page.)

____________________________________________________________________________________________________


          19. Books, records and financial statements

None      a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
✔         bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

          NAME AND ADDRESS                                                                         DATES SERVICES RENDERED




None      b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
✔         case have audited the books of account and records, or prepared a financial statement of the debtor.

          NAME                                           ADDRESS                                   DATES SERVICES RENDERED
    Case 14-37250              Doc 1        Filed 10/14/14 Entered 10/14/14 17:23:38                              Desc Main
                                             Document     Page 35 of 39

B7 (Official Form 7) (04/13)                                                                                                      9

None      c. List all firms or individuals who at the time of the commencement of this case were in possession of the
✔         books of account and records of the debtor. If any of the books of account and records are not available, explain.

          NAME                                                                     ADDRESS




None      d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
✔         financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

          NAME AND ADDRESS                                                         DATE ISSUED



________________________________________________________________________________________________

          20. Inventories

None      a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
✔         taking of each inventory, and the dollar amount and basis of each inventory.

          DATE OF INVENTORY                    INVENTORY SUPERVISOR                DOLLAR AMOUNT
                                                                                   OF INVENTORY
                                                                                   (Specify cost, market or other basis)




None      b. List the name and address of the person having possession of the records of each of the inventories reported
✔         in a., above.

          DATE OF INVENTORY                                                        NAME AND ADDRESSES
                                                                                   OF CUSTODIAN
                                                                                   OF INVENTORY RECORDS



____________________________________________________________________________________________________

          21 . Current Partners, Officers, Directors and Shareholders

None            a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
✔               partnership.

                NAME AND ADDRESS                    NATURE OF INTEREST             PERCENTAGE OF INTEREST




None            b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
✔               directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
                corporation.
                                                                                    NATURE AND PERCENTAGE
                NAME AND ADDRESS                               TITLE                OF STOCK OWNERSHIP




__________________________________________________________________________________________________
    Case 14-37250              Doc 1       Filed 10/14/14 Entered 10/14/14 17:23:38                              Desc Main
                                            Document     Page 36 of 39

B7 (Official Form 7) (04/13)                                                                                                      10

          22 . Former partners, officers, directors and shareholders

None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
✔         preceding the commencement of this case.

          NAME                                          ADDRESS                         DATE OF WITHDRAWAL




None      b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
✔         within one year immediately preceding the commencement of this case.

          NAME AND ADDRESS                              TITLE                           DATE OF TERMINATION



___________________________________________________________________________________________________

          23 . Withdrawals from a partnership or distributions by a corporation

None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
✔         including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
          during one year immediately preceding the commencement of this case.

          NAME & ADDRESS                                DATE AND PURPOSE                AMOUNT OF MONEY
          OF RECIPIENT,                                 OF WITHDRAWAL                   OR DESCRIPTION
          RELATIONSHIP TO DEBTOR                                                        AND VALUE OF PROPERTY




___________________________________________________________________

          24. Tax Consolidation Group.

None      If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any
✔         consolidated group for tax purposes of which the debtor has been a member at any time within six years
          immediately preceding the commencement of the case.

          NAME OF PARENT CORPORATION                         TAXPAYER-IDENTIFICATION NUMBER (EIN)



____________________________________________________________________________________________________

          25. Pension Funds.

None      If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to
✔         which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
          preceding the commencement of the case.

          NAME OF PENSION FUND                               TAXPAYER-IDENTIFICATION NUMBER (EIN)




                                                          * * * * * *

          [If completed by an individual or individual and spouse]
    Case 14-37250                    Doc 1           Filed 10/14/14 Entered 10/14/14 17:23:38                                             Desc Main
                                                      Document     Page 37 of 39

B7 (Official Form 7) (04/13)                                                                                                                                11

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs
            and any attachments thereto and that they are true and correct.


             Date       10/14/2014                                      Signature of Debtor          /S/ JOHN HADERLEIN, ESQ.


             Date                                      Signature of Joint Debtor (if any)


____________________________________________________________________________
            [If completed on behalf of a partnership or corporation]

            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
            thereto and that they are true and correct to the best of my knowledge, information and belief.



             Date                                                                      Signature


                                                                           Print Name and Title

                       [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]



                                                                 ___continuation sheets attached

                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571
___________________________________________________________________________________________________

            DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from
the debtor, as required by that section.




  Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                 Social-Security No. (Required by 11 U.S.C. § 110.)

If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,
responsible person, or partner who signs this document.




  Address



  Signature of Bankruptcy Petition Preparer                                                Date

Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.
Case 14-37250      Doc 1    Filed 10/14/14 Entered 10/14/14 17:23:38              Desc Main
                             Document     Page 38 of 39


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF ILLINOIS

IN RE:                                               )
                                                     )
RUTHIE A. GRAY-HOPES, DEBTOR                         )       No.
                                                     )       Chapter 13
                                                     )

                     VERIFICATION OF CREDITOR MATRIX
                                                             Number of Creditors: 6

    The above-named Debtor(s) hereby verifies that the list of creditors is true and correct
to the best of my knowledge.


Date: October 14, 2014                                       /s/ Ruthie A. Gray-Hopes
                                                             …………………………
                                                             Debtor




                                             1
 Case 14-37250   Doc 1   Filed 10/14/14 Entered 10/14/14 17:23:38   Desc Main
                          Document     Page 39 of 39


Ruthie F. Gray-Hopes
5010 W. St. Paul
Chicago, IL 60639

John Haderlein
Attorney at Law
815-C Country Club Drive
Libertyville, IL 60048

CITY OF CHICAGO
121 N. LASALLE, ROOM 107A
CHICAGO, IL 60602

CITY OF CHICAGO
121 N. LASALLE, ROOM 107A
CHICAGO, IL 60602

IL DHS/CASH MGMT.UNIT
P.O. BOX 19407
SPRINGFIELD, IL 62794-9407

BB MIDLAND FUNDING
227 W. TRADE STREET, SUITE 1610
CHARLOTTE, NC 28202-1676
